Case 2:15-cv-02091-JMV Document 4-6 Filed 05/15/15 Page 1 of 4 PagelD: 196

ATTACHMENT F
Cy

se 2:15-cv-02091-JMV Document 4-6 Filed 05/15/15' Page 2 of 4‘PagelD: 197
Peeese 2 WBS AD 64Davb Wend O6CHETS BM 07ilecPaweril4 Bate Ailefi304s A120 BB

ehccebeg pbk fet holy

Wee of Ae (bol lbh
fecn! ae Mb; s~

Name, jhe AREY OWDE.

, | )
Ee Litho! SES “ Lue Mikes BE
Lbiavel Nb AS FUSES (Hu) ;
/ eg Ab! {2°

Line Sue ox: (clon,

LL Aut wir tiag Hs Le Home po tele -fP Jee LE
a 2
file vier! folie ae neta Cf hy pp Terk fe fie Kn
LA t — Oh She yn a a F, fA
ie oa Piptn L . Le 4. Lapie JM Y ot CS a OWES SFr pnOF A FE
qe Aken of LEE fPAPISES JI RESET BEAT OE AS pews: ne ZT
fave pot Setetéel Aypehit Cinusel, Af Zo ree Bames of
He. fick Meet 7 AE By DoeSitesS ag hum Ph yi
f + a
of he SOB 1 7 fA ice fee Sfx Covel! ofl hep Riel”
SF ( a. 4 ad
foPrAES of 4 witli tb fle A Spite” Mien fo fr Pee
Vimeo Stas fede HE tay Av OE oY Myend 2 Ale
ot eo, oo “
lespecr telly Aaques! LA FES fie Be fo bee tere” arty
up a og ol ahs sf tts VM boacde
Leff [feeg? Meck wy (bund boo Affe wee le CFR

7) fo Zz , ; “7 a “—™,

[lel fro Me edt Uleccut Civ of Hygrerls y2
“ ,

fensy/> bag. .

3-/2-2e1y

 

 

VC. be fie
r="

se 2:15-cv-02091-JMV Document 4-6 Filed 05/15/15’ Page 3 of 4 PagelD: 198
ese ? 143-182 64Davbi ven OOGhETS IM OFilecRagjes24 Date Rilei3d44gei20 BS

Lara)

jtdacecteg (York $C bt

A> baste e Waren A pills be S Lif
LAste’ Vf A fw AS 2
Mowik , phe Brtey Vey

4: th He: ied Hos te LE ae” + tp. hid
J Nib, (8 FiS (ie)
by Ab j fi §BfEO

[Lbne acl Lui,

— Aer (erly Md Lelie YA OKLA, Zé fo Mare Al feLyteaeg!

| ie fees COP flat ey a A PTE RT a OY Jibttich fl, kod of SPACE.
\T a 20 dog deg peptic tel fy SI, dihowl Le

LE {boob on sages Lee Ca! ae te KE LSEOP a0) pla es JOSE
Vio lr’ fled eevee Pt fe fC Lbecwt, awed ACE
gh fe leona fide es can poche A ae past Gb BE |
a Dek es wi Lo flare ple bs Big frre! MOS

Life eel. hed CM

lone

pay Lor
v Kia &,

aL dy - (7 Z a,

3 12 /vit

[il Bb tee

 

 
Case 2:15-cv-02091-JMV Document 4-6 Filed 05/15/15 _ Page 4 of 4 PagelD: 199
(Case? 13-4825) 64DacuivenD 00GhErS M4 0FiledREHYesBl4, Date Filed 30410 A120 1368
c >

sp ff
pgp Vt |
,

 
  
 

YIaAR4O4

Mibneh pede UA gtegt Ube gfe getyQtgheg (Ut ata fag tad bath att gafets
